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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


         KILMAR ARMANDO ABREGO GARCIA,
           et al.,

                    Plaintiffs-Appellees,

                                v.                                   No. 25-1345

         KRISTI NOEM, Secretary of Homeland
          Security, et al.,

                    Defendants-Appellants.


                EMERGENCY MOTION FOR STAY PENDING APPEAL
                   AND IMMEDIATE ADMINISTRATIVE STAY

              Late Friday afternoon, a federal district judge ordered the United

        States to force El Salvador to send one of its citizens—a member of MS-13,

        no less—back to the United States by midnight on Monday. If there was ever

        a case for an emergency stay pending appeal, this would be it.

              Kilmar Armando Abrego Garcia is presently being held in El Salvador,

        by the El Salvadoran Government. The United States does not have control

        over Abrego Garcia. Or the sovereign nation of El Salvador. Nevertheless,

        the court’s injunction commands that Defendants accomplish, somehow,

        Abrego Garcia’s return to the United States in give or take one business day.


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              That order is indefensible. Foremost, it commands Defendants to do

        something they have no independent authority to do: Make El Salvador

        release Abrego Garcia, and send him to America. That is why Plaintiffs did

        not even ask the district court for an order directing Abrego Garcia’s return.

        As Plaintiffs themselves acknowledged, a federal court “has no jurisdiction

        over the Government of El Salvador and cannot force that sovereign nation

        to release Plaintiff Abrego Garcia from its prison.” Emergency TRO Mot.,

        ECF No. 2, at 2. That concession is all that is needed to order a stay here. No

        federal court has the power to command the Executive to engage in a certain

        act of foreign relations; that is the exclusive prerogative of Article II, immune

        from superintendence by Article III. But that is exactly what this order does.

        Indeed, it is the only thing it does—requiring Defendants, on the clock, to

        try to force a foreign country to take a discrete action. That sort of FRCP 65

        diplomacy is simply intolerable in our system of government.

              Those are the most pressing defects with the court’s order, but they are

        by no means the only ones. As fundamental, the district court entered its

        order without jurisdiction under the immigration laws. And in all events,

        Plaintiffs failed to carry their burden on the equities. Among much else,

        Abrego Garcia has been found to be a member of a designated Foreign

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        Terrorist Organization, MS-13. Given that status, he has no legal right or

        basis to be in the United States at all; and more to the present point, no right

        to withholding relief under the INA. The public interest obviously disfavors

        his return, let alone a slapdash one conducted as the result of judicial fiat.

              Absent this Court’s immediate intervention, though, Defendants will

        be ordered to engage in breakneck foreign policy at the direction of a federal

        district court. That is untenable. Accordingly, Defendants respectfully

        request an emergency stay pending appeal of the district court’s preliminary

        injunction. Given the importance of the issues presented, the harms caused

        by the injunction, and the short timeframe for the Government to comply

        with the district court’s order, the Government requests a ruling no later

        than 5pm on Sunday, April 6, 2025.            In the meantime, Defendants

        respectfully request that this Court issue an immediate administrative stay.1




              1 Because of the imminent timeline of the district court’s order and

        because of the importance of the issues presented, Defendants will be
        concurrently seeking a stay pending appeal from the district court. See Fed.
        R. App. P. 8(a)(1).


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                                       STATEMENT

              Plaintiff Abrego Garcia is a citizen and native of El Salvador. Final

        Removal Order, ECF No. 1-1, at 1. In March 2019, Abrego Garcia was served

        a notice to appear in removal proceedings, charging him as inadmissible

        under 8 U.S.C. § 1182(a)(6)(A)(i). Id. at 1–2. He has never been lawfully

        admitted into the United States. See id. (recounting his concession he did not

        enter after inspection by an immigration officer); 8 U.S.C. § 1101(a)(13)(A)

        (defining “admission” as “lawful entry of the alien into the United States

        after inspection and authorization by an immigration officer”).

              At a bond hearing, the immigration judge found that Abrego Garcia

        presented a danger to his community and that he had failed to refute the

        evidence that showed he was a verified member of MS-13. IJ Bond Order,

        ECF No. 11-1, at 2–3. That evidence included that a “past, proven, and

        reliable source of information” had verified Abrego Garcia’s membership in

        MS-13, his rank, and his gang name. Id. The court denied bond. Id.; see also

        BIA Opinion, ECF No. 11-2, at 1–2 (adopting and affirming IJ Bond Order,

        specifically finding no clear error in its dangerousness finding). Separately,

        the immigration court found Abrego Garcia removable, given that Abrego




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        Garcia had “admitted” that he entered the country illegally and that he was

        removable “as charged.” Final Removal Order 1–2.

              Abrego Garcia then filed an I-589 application for asylum, statutory

        withholding of removal, and protection under the regulations implementing

        the United Nations Convention Against Torture (“CAT”). Id. at 2. On

        October 10, 2019, an immigration judge issued a final removal order denying

        Abrego Garcia’s application for asylum and protection under the CAT, but

        granting him statutory withholding of removal to El Salvador. Id. at 14. The

        court reasoned that Abrego Garcia had a fear of persecution, because of his

        membership in a “particular social group” given that his mother’s “family

        pupusa business was well-known in the community.” Dkt. 1-1, at 10.

        Notwithstanding that withholding of removal to El Salvador, Abrego Garcia

        has no lawful status within the United States.

              On February 6, 2025, Secretary of State Marco Rubio, in consultation

        with Attorney General Pamela Bondi and Secretary of the Treasury Scott

        Bessent, designated MS-13 a Foreign Terrorist Organization pursuant to INA

        § 219 (codified at 8 U.S.C. § 1189). 90 Fed. Reg 10030, 10030–31 (Feb. 6, 2025).

        In so doing, he “concluded that there is a sufficient factual basis to find” that

        MS-13 “engages in terrorist activity or terrorism, or retains the capability and

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        intent to engage in terrorist activity or terrorism” that “threatens the security

        of United States nationals or the national security of the United States.” Id.;

        see 8 U.S.C. § 1189(a)(1)(B)–(C).

              On March 12, 2025, Abrego Garcia was stopped by ICE officers, who

        he alleged told him that his immigration status had changed. Id. ¶¶ 48–50;

        see also Cerna Decl., ECF No. 11-3, ¶ 11. After being detained, he was

        questioned about gang affiliations and transferred ultimately to a detention

        center in Texas. Compl. ¶¶ 53, 56; Cerna Decl. ¶¶ 2, 11. Abrego Garcia

        alleged that he was told he would be removed to El Salvador, and detained

        at the CECOT prison there. Compl. ¶¶ 56–57 & n.1.

              On March 15, Abrego Garcia was removed to El Salvador. He was sent

        to that country due to an administrative error. Cerna Decl. ¶¶ 12–15.

              B.    Procedural History

              On March 24, 2025, Plaintiffs—Abrego Garcia, his wife, and their

        child—filed their complaint, raising five claims: a violation of the removal

        statute; two violations of the Due Process Clause; an APA claim; and a

        habeas claim. As for his requested relief, Abrego Garcia asked, most of all,

        that Defendants “take all steps reasonably available to them, proportionate




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        to the gravity of the ongoing harm, to return Plaintiff Abrego Garcia to the

        United States.” Compl., Request for Relief ¶ d.

              At the same time, Plaintiffs filed an ex parte emergency motion for a

        temporary restraining order. That motion asked the court to “temporarily

        order Defendants to immediately stop paying compensation to the

        Government of El Salvador for the detention of Plaintiff Abrego Garcia,” and

        to “request that the Government of El Salvador return Plaintiff Abrego

        Garcia to [Defendants’] custody, for such time until a preliminary injunction

        motion can be briefed and decided.” Emergency TRO Mot. 7. In that

        motion, Plaintiffs conceded that the district court “has no jurisdiction over

        the Government of El Salvador and cannot force that sovereign nation to

        release” Abrego Garcia. Id. ¶ 4. The district court denied the emergency

        motion without prejudice for failure to comply with Fed. R. Civ. P. 65(b).

              Plaintiffs filed a renewed motion for a temporary restraining order the

        next day, again conceding the district court’s lack of jurisdiction over El

        Salvador and inability to compel it to release Abrego Garcia. Renewed TRO

        Mot., ECF No. 6, ¶ 3 (“This Court admittedly has no jurisdiction over the

        Government of El Salvador and cannot force that sovereign nation to release

        Plaintiff Abrego Garcia from its prison.”). Plaintiffs again requested that the

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        district court “temporarily order” Defendants to stop paying El Salvador for

        Abrego Garcia’s detention, and to request El Salvador return him to

        Defendants’ custody until a preliminary-injunction motion could be

        decided. Id. ¶ 7.

              The district court set a briefing schedule and ordered a hearing for

        April 4, 2025. See generally Ltr. Order, ECF No. 8; Mem. Supp. TRO Mot.,

        ECF No. 10; Corr. Mem. in Opp’n, ECF No. 12; Reply, ECF No. 13. That day,

        the district court, construing Plaintiffs’ TRO filing as one for a preliminary

        injunction, granted Plaintiffs’ motion. But the district court ordered relief

        that was far broader from what was requested in both that motion, and also

        the underlying complaint: The court ordered Defendants to “facilitate and

        effectuate the return of [Abrego Garcia] to the United States by no later than

        11:59 PM on Monday, April 7, 2025.” Order, ECF No. 21, at 2.

              Defendants timely appealed that same day, Notice of Appeal, ECF

        No. 22, and now move this Court for an emergency administrative stay and

        a stay pending appeal.

                                        ARGUMENT

              A stay pending appeal turns on “(1) whether the stay applicant . . . is

        likely to succeed on the merits; (2) whether the applicant will be irreparably


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        injured absent a stay; (3) whether issuance of the stay will substantially

        injure the other parties . . . ; and (4) where the public interest lies.” Nken v.

        Holder, 556 U.S. 418, 426 (2009) (quotation marks omitted). In suits against

        the Government, the latter two factors merge.

        I.    The Order Is Indefensible on the Merits.

              The district court’s order—a command to “facilitate and effectuate”

        Abrego Garcia’s return from a foreign country by midnight on Monday—is

        unlawful. There is no likelihood that it would survive review on appeal.

              1. The order below is neither possible nor proper. As noted, Abrego

        Garcia is an El Salvadoran national, being held in El Salvador, at the hands

        of the El Salvadoran government. Or as the Plaintiffs themselves put it,

        Abrego Garcia is in the custody of a foreign sovereign over whom America

        “has no jurisdiction.” Emergency TRO Mot. ¶ 4; see also Renewed TRO Mot.

        ¶ 3. Because the United States has no control over Abrego Garcia, however,

        Defendants have no independent authority to “effectuate” his return to the

        United States—any more than they would have the power to follow a court

        order commanding them to “effectuate” the end of the war in Ukraine, or a

        return of the hostages from Gaza.




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              Indeed, in light of all of this, Plaintiffs themselves disclaimed that they

        were asking for such relief—instead asking only that Defendants either

        request that El Salvador release Abrego Garcia, or cease compensating El

        Salvador for its detention of him. E.g., Emergency TRO Mot. ¶ 4; Renewed

        TRO Mot. ¶ 3; Mem. Supp. TRO Mot. 10–11.

              That alone is basis enough to stay the order. The federal courts are

        courts of limited jurisdiction; they have the circumscribed authority to act

        upon motions as presented by the parties, not “sally forth each day looking

        for wrongs to right.” United States v. Sineneng-Smith, 590 U.S. 371, 376 (2020).

              But even on Plaintiffs’ preferred (and requested) framing, the order is

        not salvageable. Even if the court below had only ordered the Defendants

        to withhold funding or make a request, that would still run headlong into

        the separation of powers.       The federal courts’ equitable authority is

        conditioned by the structure of the Constitution. In re Trump, 958 F.3d 274,

        297 (4th Cir. 2020) (Wilkinson, J., dissenting). And for that reason, “the

        federal equity power cannot extend beyond what the separation of powers

        will allow.” Id.; see Guaranty Trust Co. of N.Y. v. York, 326 U.S. 99, 104-07

        (1945). A federal court therefore cannot use its Article III authority to coopt

        a core prerogative of Article II. But that is this order to a tee. The Supreme

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        Court has long held that the President is “the sole organ of the federal

        government in the field of international relations,” United States v. Curtiss-

        Wright Export Corp., 299 U.S. 304, 320 (1936), whose branch is entrusted with

        significant independent authority over foreign affairs, see, e.g., Trump v.

        United States, 603 U.S. 593, 608-09 (2024). A judicial order that forces the

        Executive to engage with a foreign power in a certain way, let alone compel

        a certain action by a foreign sovereign, is constitutionally intolerable.

              Indeed, even in its faintest light, the order below forces Defendants to

        ask El Salvador to release one of its own citizens from one of its prisons, and

        send him to the United States. Such a request—one made to a foreign ally,

        on a hyper-sensitive subject, involving a designated terrorist—is freighted

        with foreign policy considerations. And it is simply not something that a

        federal court can order the Executive Branch to do. See, e.g., Lin v. United

        States, 690 F. App’x 7, 8–9 (D.C. Cir. 2017) (dismissing suit where “Plaintiffs’

        injury can only be redressed by foreign nations not before the court”).

              2. Even putting aside these fundamental defects, the order below also

        runs into a statutory bar. Section 1252(g) strips district courts of jurisdiction

        to review “any cause or claim by or on behalf of any alien arising from the

        decision or action by the Attorney General to … execute removal orders

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        against any alien” under the INA, except as otherwise provided in § 1252.

        8 U.S.C. § 1252(g) (emphasis added). This is such a suit. The district court

        thus lacked jurisdiction over this case, and lacked authority to issue its order.

        See Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 482 (1999).

              Where applicable, § 1252(g)’s “sweep is firm.” E.F.L. v. Prim, 986 F.3d

        959, 964 (7th Cir. 2021). It “precludes judicial review of ‘any’ challenge to

        ‘the decision or action by [DHS] to . . . execute removal orders,’” which

        “includes challenges to DHS’s ‘legal authority’ to do so.” Id. at 965 (alteration

        in original); see also, e.g., Camarena v. Director, ICE, 988 F.3d 1268, 1273–74

        (11th Cir. 2021) (“No matter how [the plaintiffs] characterize their claims,

        they amount to an attack on the Government’s execution of their removal

        orders. That runs afoul of § 1252(g): If we held otherwise, any petitioner

        could frame his or her claim as an attack on the Government's authority to

        execute a removal order rather than its execution of a removal order.”).

              There is no doubt that a removal order was issued against Abrego

        Garcia. Final Removal Order 2; EOIR Automated Case Information, ECF

        No. 1-5, at 2 (“No appeal was received for this case.”). And there is no doubt

        that Abrego Garcia was removed pursuant to that order. Indeed, that is

        precisely what the complaint in this case challenged. See, e.g., Compl. ¶ 63

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        (alleging that Defendants “decided to deport Plaintiff Abrego Garcia

        without following the law”). Abrego Garcia’s challenge to the execution of

        his removal order falls squarely within the plain terms of § 1252(g). See, e.g.,

        Silva v. United States, 866 F.3d 938, 940 (8th Cir. 2017).

                 Abrego Garcia argued otherwise below, on the ground he received

        withholding of removal relief to El Salvador. Reply 6–9. But as the Supreme

        Court has made clear, removal orders and withholding orders are “distinct.”

        Johnson v. Guzman Chavez, 594 U.S. 523, 539 (2021). And just as important, a

        withholding order does not “affect the validity of the underlying removal

        order.” Id. at 540. Accordingly, even if a removal runs afoul of some other

        legal bar (such as withholding relief), it is still the “execution” of a “removal

        order” under the very terms of § 1252(g). The federal courts thus cannot act

        upon any “claim” challenging such an execution, “[e]xcept as provided”

        elsewhere § 1252—an exception not even Plaintiffs have argued applies

        here.2


                 2 Even if § 1252(g) did not apply, Plaintiffs’ claims sound in habeas,

        and would have had to have been brought via that exclusive remedy when
        Abrego Garcia was still within the United States. Nance v. Ward, 597 U.S.
        159, 167 (2022). But now, Abrego Garcia is beyond the territorial bounds of
        the United States, and Plaintiffs have conceded that he is not in United States
        custody. See Mem. Supp. TRO Mot. 2; see also Munaf v. Geren, 553 U.S. 674,

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              3. At minimum, the relief ordered was overbroad. An injunction must

        be narrowly tailored to address a plaintiff’s asserted harm. See, e.g., Califano

        v. Yamasaki, 442 U.S. 682, 702 (1979). But here, Abrego Garcia’s injury was

        pegged exclusively to his return to El Salvador. He did not claim an

        entitlement to be in the United States; nor did he raise any concerns with

        being sent to some third country. In that light, ordering Abrego Garcia

        returned to the United States—and only the United States—was an invalid

        and untailored request. And it further compounded the district court’s

        overreach. As a matter of both sound immigration policy and responsible

        foreign policy, the United States regularly relies on being able to remove

        aliens to third countries, when there are issues with returning them to their

        place of origin. The district court erred in interfering with that.

        II. The Equities Foreclose Returning a Member of MS-13 to America.

              As a matter of law, the order below cannot stand. And as a matter of

        equity, it should not. The public interest cuts firmly against ordering Abrego

        Garcia—a member of a designated terrorist organization, who is in turn no



        686 (2008) (a person “is held ‘in custody’ by the United States when the
        United States official charged with his detention has ‘the power to produce
        him’” (quoting Wales v. Whitney, 114 U.S. 564, 574 (1885))).


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        longer eligible for withholding relief—back to the United States. And on the

        other side of the ledger, he fails to offer any compelling irreparable harm

        that would justify this injunction.

              1. In 2019, an immigration judge concluded that “the evidence shows

        that [Abrego Garcia] is a verified member of MS-13” and that he “has failed

        to present evidence to rebut that assertion.” IJ Order 2-3. It concluded too

        that as a member of a notorious and violent gang, he presents a danger to

        Americans. Id. That conclusion was then affirmed by the BIA. BIA Opinion

        1–2. And it remains true today. As Acting Field Office Director Cerna

        explained in his sworn declaration, Abrego Garcia was arrested this March

        “due to his prominent role in MS-13.” Cerna Decl. ¶ 11; see also id. ¶ 15.

              Accordingly, while there is no doubt a “public interest in preventing

        aliens from being wrongfully removed,” Nken, 556 U.S. at 435, there is an

        overwhelming public interest in not importing members of violent

        transnational gangs into this country, see id. at 436 (noting a heightened

        “interest in prompt removal” if an “alien is particularly dangerous”). It is

        no answer, moreover, that Abrego Garcia might be detained on his return.

        Even if detained, it is common course for gang members to stoke violence

        against government officials and other detainees, or recruit others to their

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        ranks. See Michael E. Miller, Wash. Post, “Vying for Control”: How MS-13 Uses

        Violence and Extortion in America’s Jails (Feb. 4, 2018).3 Regardless, the degree

        of danger that Abrego Garcia presents to the United States is the precise sort

        of national security judgment on which the Executive is entitled to peak

        deference. See Trump v. Hawaii, 585 U.S. 667, 704 (2018).

              2. It is true that an immigration judge concluded six years ago that

        Abrego Garcia should not be returned to El Salvador, given his claims about

        threats from a different gang. Final Removal Order 7–10. That conclusion

        was dubious then (and increasingly so now). But it has become totally

        untenable, given the Secretary of State’s designation of MS-13 as a Foreign

        Terrorist Organization in February. 90 Fed. Reg. at 10030–31.

              As a result of that designation, and Abrego Garcia’s membership in

        that terrorist organization, he would no longer be eligible for withholding

        relief under the federal immigration laws. 8 U.S.C. §§ 1231(b)(3)(B)(iv);

        1227(a)(4)(B). And as even Plaintiffs admit, the Government had available a

        procedural mechanism under governing regulations to reopen the



        3 Available at https://www.washingtonpost.com/local/vying-for-control-

        how-ms-13-uses-violence-and-extortion-in-americas-
        jails/2018/02/04/c8b8ab92-06c8-11e8-8777-2a059f168dd2_story.html.


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        immigration judge’s prior order, and terminate its withholding protection.

        See Reply 8. To be sure, the Government did not avail itself of that procedure

        in this case. But through the lens of the public interest, the district court’s

        stunning injunction does not fit that error. A mistake of process does not

        warrant the unprecedented remedy ordered—one that demands the return

        of a foreign terrorist from the foreign sovereign that agreed to take him.

              3. For their part, Plaintiffs fail to marshal any compelling irreparable

        harm that would warrant injunctive relief, let alone offset the above. Below,

        Plaintiffs alleged two forms of irreparable harm: The separation of Plaintiffs’

        family, and the alleged risk that Abrego Garcia will be tortured or killed in

        CECOT. Mem. Supp. TRO Mot. 8. Neither works.

              As to the former, family separation, Plaintiffs themselves effectively

        concede that this injury would not be redressable by the relief they seek.

        After all, Plaintiffs agree (as they must) that Abrego Garcia can be removed

        from the United States, and thus separated from his family; their sole

        objection is to him being removed to El Salvador.           Regardless, family

        separation is endemic to immigration proceedings, and is thus not the sort

        of cognizable harm that can give rise to extraordinary relief. See Nken, 556

        U.S. at 435.

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              As for the latter, Plaintiffs have not come close to showing that Abrego

        Garcia will likely be tortured or killed in CECOT. For starters, the Executive

        Branch has asserted that no such danger exists. See generally 90 Fed. Reg.

        14514 (Apr. 2 2025). That is virtually dispositive. See Kiyemba v. Obama,

        561 F.3d 509, 515 (D.C. Cir. 2009) (“[S]eparation of powers principles . . .

        preclude the courts from second-guessing the Executive’s assessment of the

        likelihood a detainee will be tortured by a foreign sovereign.”).

              Indeed, the United States, as a party to the Convention Against

        Torture, is committed not to return a person to a country where that person

        is likely to be tortured. See 8 C.F.R. § 1208.18. And, as one of Plaintiffs’

        declarants concedes: “El Salvador is a signatory to both the Convention

        Against Torture and the International Covenant on Civil and Political

        Rights.” Bishop Decl., ECF No. 10-3, ¶ 32. The United States has ensured that

        removed aliens will not be tortured, and Defendants would not have

        removed any alien to El Salvador for detention in CECOT if it believed that

        doing so would violate the United States’ obligations under the Convention.

        And they did not do so here.

              For their part, Plaintiffs have pointed to little evidence about

        conditions in CECOT itself, instead extrapolating from allegations about

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        conditions in different El Salvadoran prisons. See Goebertus Decl., ECF No.

        10-2, ¶¶ 2–4; Bishop Decl., ¶¶ 24 & n.17, 30 & n.27. While there may be

        allegations of abuses in other El Salvadoran prisons—very few in relation to

        the large number of detainees—there is no clear showing that Abrego Garcia

        himself is likely to be tortured or threatened in CECOT, let alone a clear

        enough showing for a federal court to displace the settled judgment of the

        Executive Branch.

                                               ***

              Here and elsewhere, this Court should thus restore the constitutional

        balance, and correct the district court’s attempted usurpation of the

        Executive Branch. The order below represents an “unwarranted judicial

        interference in the conduct of foreign policy” to the highest degree. Kiobel v.

        Royal Dutch Petroleum Co., 569 U.S. 108, 116 (2013). It is an injunction to force

        a foreign sovereign to send back a foreign terrorist within three days’ time.

        That is no way to run a government. And it has no basis in American law.




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                                     CONCLUSION

              The order below should be immediately administratively stayed, and

        it should be stayed pending appeal.

                                               Respectfully submitted,

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        1.    This document complies with the type-volume limit of Fed. R. App.

              P. 27(d)(2)(A) because, excluding the parts of the document exempted

              by Fed. R. App. P. 32(f), it contains 4050 words.

        2.    This document complies with the typeface and type-style

              requirements of Fed. R. App. P. 32(a)(5)–(6) because it has been

              prepared in a proportionally spaced typeface (14-point Book

              Antiqua) using Microsoft Word for Microsoft 365.

        Dated: April 5, 2025                      s/August E. Flentje
                                                  Counsel for Respondent
